          Case 2:08-cr-00376-WBS Document 150 Filed 09/23/10 Page 1 of 3


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 6             IN THE UNITED STATES DISTRICT COURT FOR THE

 7                       EASTERN DISTRICT OF CALIFORNIA

 8

 9   UNITED STATES OF AMERICA,

10                  Plaintiff,

11             v.                           CR. NO. S-10-0405 JAM

12   CARLOS CHAMORRO,

13                  Defendant.
     _____________________________/
14
     UNITED STATES OF AMERICA,
15
                    Plaintiff,              CR. NO. S-10-0200 EJG
16
               v.
17
     ANTHONY G. SYMMES
18
                    Defendant.
19                                  /

20   UNITED STATES OF AMERICA,

21                  Plaintiff,              CR. NO. S-08-0376 EJG

22             v.

23   GARRET GRIFFITH GILILLAND III,         RELATED CASE ORDER
     and NICOLE MAGPUSAO,et al.,
24
                    Defendants.
25   _____________________________/

26                                      1
            Case 2:08-cr-00376-WBS Document 150 Filed 09/23/10 Page 2 of 3


 1          Examination of the above-entitled actions reveals that they

 2   are related within the meaning of Eastern District Local Rule 83-

 3   123.    The actions arise out of the same law enforcement

 4   investigation and involve the same transactions, property and

 5   witnesses.    Accordingly, the assignment of the matters to the

 6   same judge is likely to effect a substantial saving of judicial

 7   effort and is also likely to be convenient for the parties.

 8          The parties should be aware that relating the cases under

 9   Local Rule 83-123 merely has the result that the actions are

10   assigned to the same judge; no consolidation is effected.           Under

11   the regular practice of this court related cases are generally

12   assigned to the judge to whom the first filed action was

13   assigned.

14          IT IS THEREFORE ORDERED that the action entitled Cr. No. S-

15   10-0405 JAM is hereby reassigned to Judge Edward J. Garcia for

16   all further proceedings.      Henceforth, the caption on documents

17   filed in the reassigned case shall be shown as Cr. No. S-10-0405

18   EJG.

19          IT IS FURTHER ORDERED that an initial appearance/arraignment

20   and hearing for entry of plea in the reassigned case will be held

21   at 10:00 a.m. Friday, October 15, 2010, 2010 before Judge Garcia.

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          Case 2:08-cr-00376-WBS Document 150 Filed 09/23/10 Page 3 of 3


 1        IT IS FURTHER ORDERED that the Clerk of the Court make

 2   appropriate adjustment in the assignment of criminal cases to

 3   compensate for this reassignment.

 4        IT IS SO ORDERED.

 5        September 16,2010           /s/ Edward J. Garcia
                                      EDWARD J. GARCIA, JUDGE
 6                                    UNITED STATES DISTRICT COURT

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